    Case 3:20-cv-02981-C Document 18 Filed 04/06/21                Page 1 of 3 PageID 65



                       IN THE UNITED STATES DISTzuCT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


ETC SUNOCO HOLDINGS LLC                        )
(f/Aa Sunoco, Inc.),                           )
                                                )
                     Plaintifl                  )
                                                )
                                                )
                                                )
UNITED STATES OF AMEzuCA.                       )
                                                )
                     Delendant.                 )   Civil Action No. 3:20-CV-2981-C


                                  SCHEDULING ORDER

I     Pursuant to Rule l6(b), Fed. R. Civ. P., the Court establishes the following schedule for
      this case:

      (a)     Motions to join other parties and amend the pleadings must be filed by 3:00 p.m
              on August 2,2021 .

      (b)     Motions for summary judgment must be fited by 3:00 p.m. on March 1,2022.

      (c)     Motions in limine must be filed and discovery must be completed by 3:00 p.m. on
              Jtly 25,2022.

      Deadlines will "not be extended except upon good cause shown and by order ofthe
      Court." See Saavedrav Murphy Oil U.S.A., Inc. v. Lou-Con, lnc.,930 F.2d 1104, 1107
      (5rh cir. 1991).

2     Unless further ordered by the Court, the parties are not required to make initial
      disclosures under Rule 26(a)(l), Fed. R. Civ. P., and no conferences are required under
      Rule 26(f), Fed. R. Civ. P.

3     CounseI are expected to cooperate with each other in conducting discovery, clariSing the
      issues, and getting the case ready for trial. Specifically, counsel must strictly comply with
      the mandates set forth in Dondi Properties Corporation v. Commerce Savings & Loan
      Association, 121 F.R.D. 284 (N.D. Tex. 1988) (en banc) (per curiam).

4      Filing documents electronically is not mandatory. However, in all cases where electronic
       case filing is done, counsel may serve and respond to written discovery requests through
     Case 3:20-cv-02981-C Document 18 Filed 04/06/21                        Page 2 of 3 PageID 66



        electronic mail service. This discovery practice will be govemed by the Northern District
        ofTexas Local Rules, this Court's Local Rules/Judge Specific Requirements, and the
        Cterk's ECF Administrative Procedures Manual regarding electronic case filing
        procedures.

)       Counsel are referred to the Local Rules of the Northem District ofTexas, the Civil Justice
        Cost and Delay Reduction Plan ofthe Northern District ofTexas, and the Local Rules/
        Judge Specific Requirements of this Court.

6.      This civil action is set for trial at 9:00 a.m. on August 15,2022, in the United States
        District Courtroom, Earle Cabetl Federal Building, Dallas, Texas.r Counsel shall comply
        with the following:

        (a)         Al[ counsel shall jointly prepare a proposed pretrial order for the Court to enter,
                    which shall contain the following:

                    (1)    a summary   ofthe claims and defenses ofeach party;
                    (2)    a statement olstipulated facts;
                    (3)    an estimate ofthe length oftrial;
                    (4)    a list ofadditional matters which would aid in the disposition of the       case;
                    (5)    the signature ofeach counsel; and
                    (6)    a place for the date and signature ofthe Court.


                    Counsel are ordered to confer prior to the date of submission of the proposed
                    pretrial order, and a certificate shall be attached to the proposed order, signed by
                    counsel, stating that such a conference has been held, the stipulations are agreed
                    upon, and that the proposed pretrial order is submitted to the Court for entry.
                    Failure to agree upon the wording or terms ofthe proposed order will not be an
                    excuse for not filing same, but counsel may place in such order their respective
                    versions ofthe matters to be included.

        (b)         At least twenty-one (21) days before the scheduled date for trial, counsel shall file
                    with the Clerk and serve on opposing parties proposed jury instructions and issues
                    in jury cases and proposed findings of fact and conclusions of law in non-jury
                    cases, any trial briefs that counsel may desire to present to the Court, and the
                    proposed pretrial order.

        (c)         At least twenty-one (21) days before the scheduled date for trial, counsel shall file
                    with the Clerk and serve on opposing pa(ies the information described under Rule
                    26(a)(3XA), Fed. R. Civ. P. At the same time, exhibits shall be exchanged


        I Ifthe parties agree that an earli€r trial setting is appropriate, the Court will consider a motion to
reschedule trial.

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     Case 3:20-cv-02981-C Document 18 Filed 04/06/21                Page 3 of 3 PageID 67



               between the parties. Because the court finds it more practical to make evidentiary
               rulings at time oltrial, counsel are not required to file objections to exhibits
               pursuant to Rule 26(a)(3)(B), Fed. R. Civ. P.

       (d)     If pretrial conference is deemed necessary, counsel shall notify the Court at the
                    a
              time of filing the proposed pretrial order, or sooner, and the Court will, at the
              Court's discretion, schedule such a conference.

       (e)     In   jury
                     cases, counsel are not required to submit proposed voir dire questions.
               Counsel will be permitted to conduct voir dire of the jury panel, subject to further
               order of the Court.

       (0     The above trial setting will continue for the following weeks during the same
              month. This case has been scheduled for trial with other cases. You are
              responsible for staying in contact with the Judge's chambers to determine
              where your case stands on the Court's docket. There will be no docket call.

       (g)     Should counsel fail to appear at a scheduled pretrial conference or to timely
               submit a complete and correct pretrial order as required or fail to comply with the
               other directions set out herein, ai ex parle hearing may be held and judgment of
               dismissal, default, or other appropriate order will be entered.

7.     Any party not represented by counsel is expected to comply with the above deadlines and
       rnstructlons.

       SO ORDERED.

       Dated April         2021

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                                                       C          GS
                                              SEN OR           D STATES             CT JUDGE



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